Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19              PageID.4851    Page 1 of 13



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


  JOHN DOE, an individual,                                     Case No. 2:16-cv-13174
                                                               Hon. David A. Lawson
                              Plaintiff,

  vs.

  DAVID H. BAUM, SUSAN PRITZEL, TABITHA
  BENTLEY, NADIA BAZZY, E. ROYSTER HARPER,
  ERIK WESSEL, ANTHONY WALESBY, and JEFFERY
  FRUMKIN, ROBERT SELLERS, employees of the
  University of Michigan, sued in his or her personal and
  official capacities, jointly and severally, and UNIVERSITY
  OF MICHIGAN, BOARD OF REGENTS OF THE
  UNIVERSITY OF MICHIGAN, a constitutional corporate
  body,

                              Defendants.

  DEBORAH GORDON LAW                            MILLER, CANFIELD, PADDOCK
  Deborah L. Gordon (P27058)                    AND STONE, P.L.C.
  Elizabeth A. Marzotto Taylor (P82061)         Megan P. Norris (P39318)
  Andrea M. Van Hoven (P78856)                  Brian M. Schwartz (P69018)
  Alana A. Karbal (P82908)                      Attorneys for Defendants
  Attorneys for Plaintiff                       150 West Jefferson, Suite 2500
  33 Bloomfield Hills Parkway, Suite 220        Detroit, Michigan 48226
  Bloomfield Hills, Michigan 48304              (313) 963-6420
  (248) 258-2500                                norris@millercanfield.com
  dgordon@deborahgordonlaw.com                  schwartz@millercanfield.com
  emarzottotaylor@deborahgordonlaw.com
  avanhoven@deborahgordonlaw.com                JENNER & BLOCK LLP
  akarbal@deborahgordonlaw.com                  David W. DeBruin (337626)
                                                Attorneys for Defendants
                                                1099 New York Ave., N.W., Suite 900
                                                Washington, DC 20001
                                                (202) 639-6015
                                                ddebruin@jenner.com



           DEFENDANTS’ MOTION FOR A PROTECTIVE ORDER
                REGARDING NOTICED DEPOSITIONS
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19        PageID.4852    Page 2 of 13




             IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
  JOHN DOE, an individual,                Case No. 2:16-cv-13174
                                          Hon. David A. Lawson, D.J.
                       Plaintiff,         Hon. Stephanie Dawkins Davis,
                                          M.J.
  vs.

  DAVID H. BAUM, SUSAN PRITZEL,
  TABITHA BENTLEY, NADIA BAZZY, E.
  ROYSTER HARPER, ERIK WESSEL,
  ANTHONY WALESBY, and JEFFERY
  FRUMKIN, ROBERT SELLERS, employees of
  the University of Michigan, sued in his or her
  personal and official capacities, jointly and
  severally, and UNIVERSITY OF MICHIGAN,
  BOARD OF REGENTS OF THE UNIVERSITY
  OF MICHIGAN, a constitutional corporate body,

                            Defendants.

          DEFENDANTS’ MOTION FOR A PROTECTIVE ORDER
               REGARDING NOTICED DEPOSITIONS

       Defendants David H. Baum, Susan Pritzel, Tabitha Bentley, Nadia Bazzy, E.

 Royster Harper, Erik Wessel, Anthony Walesby, Jeffrey Frumkin, and Robert

 Sellers (collectively the “Individual Defendants”), University of Michigan (the

 “University”), and Board of Regents of the University of Michigan, through their

 counsel and pursuant to Federal Rule of Civil Procedure 26(c), move this Court for

 entry of a protective order regarding Plaintiff’s Notice of Taking Depositions of five

 Individual Defendants: David H. Baum, Susan Pritzel, Nadia Bazzy, E. Royster
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19      PageID.4853   Page 3 of 13



 Harper, and Robert Sellers. The good cause supporting this Motion is explained in

 the attached Memorandum.

       Pursuant to Federal Rule of Civil Procedure 26(c)(1) and Local Rule 7.1(a),

 there was a conference between Defendants’ counsel and Plaintiff’s counsel via

 email on June 12, 2019 and June 17, 2019, in which Defendants’ counsel attempted

 to resolve this dispute in good faith without Court action. Defendants’ counsel

 sought concurrence from Plaintiff’s counsel regarding Defendants’ request to

 postpone the noticed depositions. Plaintiff’s counsel did not concur in the relief

 sought herein.

       WHEREFORE, Defendants request that the Court enter a protective order

 postponing the noticed depositions until after this Court resolves the pending

 motions and enters an Order governing discovery in this matter.

                                       Respectfully submitted,

 Date: June 20, 2019                   /s/ David W. DeBruin
                                       David W. DeBruin
                                       Jenner & Block LLP
                                       1099 New York Avenue, N.W., Suite 900
                                       Washington, DC 20001
                                       202-639-6015
                                       ddebruin@jenner.com

                                       Brian M. Schwartz (P69018)
                                       Miller, Canfield, Paddock and Stone, P.L.C.
                                       150 West Jefferson, Suite 2500
                                       Detroit, MI 48226
                                       313-963-6420
                                       schwartz@millercanfield.com
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19   PageID.4854   Page 4 of 13




                                    Attorneys for Defendants
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19           PageID.4855     Page 5 of 13



                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
  JOHN DOE, an individual,                       Case No. 2:16-cv-13174
                                                 Hon. David A. Lawson, D.J.
                           Plaintiff,            Hon. Stephanie Dawkins Davis, M.J.

  vs.

  DAVID H. BAUM, SUSAN PRITZEL, TABITHA
  BENTLEY, NADIA BAZZY, E. ROYSTER HARPER,
  ERIK WESSEL, ANTHONY WALESBY, and JEFFERY
  FRUMKIN, ROBERT SELLERS, employees of the
  University of Michigan, sued in his or her personal and
  official capacities, jointly and severally, and UNIVERSITY
  OF MICHIGAN, BOARD OF REGENTS OF THE
  UNIVERSITY OF MICHIGAN, a constitutional corporate
  body,

                              Defendants.

  DEBORAH GORDON LAW                            MILLER, CANFIELD, PADDOCK
  Deborah L. Gordon (P27058)                    AND STONE, P.L.C.
  Elizabeth A. Marzotto Taylor (P82061)         Megan P. Norris (P39318)
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  Alana A. Karbal (P82908)                      Attorneys for Defendants
  Attorneys for Plaintiff                       150 West Jefferson, Suite 2500
  33 Bloomfield Hills Parkway, Suite 220        Detroit, Michigan 48226
  Bloomfield Hills, Michigan 48304              (313) 963-6420
  (248) 258-2500                                norris@millercanfield.com
  dgordon@deborahgordonlaw.com                  schwartz@millercanfield.com
  emarzottotaylor@deborahgordonlaw.com
  avanhoven@deborahgordonlaw.com                JENNER & BLOCK LLP
  akarbal@deborahgordonlaw.com                  David W. DeBruin (337626)
                                                Attorney for Defendants
                                                1099 New York Ave., N.W., Suite 900
                                                Washington, DC 20001
                                                (202) 639-6015
                                                ddebruin@jenner.com

    MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR A
     PROTECTIVE ORDER REGARDING NOTICED DEPOSITIONS
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19        PageID.4856    Page 6 of 13




                                 INTRODUCTION

       At the last hearing on February 14, 2019, the Court stated it would first issue

 an order on the motion pending at that time, and then would direct the parties as to

 when they could begin discovery. Indeed, the motion pending at that time, together

 with three other motions that have since been filed and are now fully briefed, will

 define the very nature of proceedings on remand. One of those motions raises the

 defense of qualified immunity, a doctrine with the express purpose of preventing the

 burdens on discovery from falling on state actors who had an appropriate basis for

 their conduct.

       The Court has not yet issued its rulings. Nonetheless, Plaintiff recently served

 a notice of depositions for five of the Individual Defendants, and Plaintiff’s counsel

 has refused Defendants’ proposal that the depositions be postponed until the Court

 has ruled on pending motions. Although Defendants had hoped this issue could be

 resolved amicably between the parties, in light of Plaintiff’s refusal, Defendants are

 forced to seek a protective order. Defendants respectfully request that the Court

 enter a protective order requiring that the depositions be postponed until after the

 Court has ruled on the pending motions, at which time they can proceed as

 appropriate based on this Court’s rulings.




                                           1
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19         PageID.4857   Page 7 of 13




                                      BACKGROUND

       Near the outset of this case, the Court stayed all discovery. See Dkt. No. 64

 (“No discovery shall proceed until the Court enters a scheduling order.”). The Court

 has not yet entered a scheduling order or otherwise lifted the stay.

       This case was remanded by the Court of Appeals in a decision dated

 September 7, 2018. See Doe v. Baum, 903 F.3d 575 (6th Cir. 2018). On December

 13, 2018, Plaintiff filed a motion for interim relief. See Dkt. No. 110. Defendants

 filed an opposition on December 24, 2018. See Dkt. No. 117. On February 14,

 2019, the Court conducted a hearing on Plaintiff’s motion.

       At the hearing, counsel for Defendants argued that “the holding of the Sixth

 Circuit is, we didn’t adjudicate [the complaint against Plaintiff] properly, so the

 remedy is, and we concede, that we should be required to adjudicate it in an

 appropriate way. We’re prepared to do that.” See Transcript of Hearing, at 30 (Feb.

 14, 2019), attached as Exhibit A. In light of Defendants’ concession that a new

 hearing of some form was required on the allegations of sexual misconduct made

 against Plaintiff, Defendants’ counsel argued that discovery on Plaintiff’s Title IX

 claim was unnecessary and inappropriate: “So to have extensive discovery going to

 the previous decision of the appeals board and whether that was motivated by some

 bias of David Baum or any other member of the board is, in large measure, irrelevant,

 because no one is resting on that decision.” Id. at 47. Counsel urged that as to any


                                           2
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19       PageID.4858    Page 8 of 13



 potential damages, the case first should be remanded to the University for a new

 hearing because “what those damages may be may very heavily depend on the

 outcome of a new procedure consistent with due process.” Id. at 48.

       After further argument regarding the course of proceedings following the

 Sixth Circuit’s decision, the following exchange occurred between Plaintiff’s

 counsel and the Court:

       MS. GORDON: Judge, what’s the next step? We wait for your order
       on this and then you will direct us as to when we can begin
       discovery?

       THE COURT: Yes. I will enter an order on this. Depending on
       which way we go, I may issue a scheduling order, having considered
       this dialogue here essentially a Rule 16 conference.

 Id. at 59 (emphasis added).

       As is plain from this exchange, the Court indicated—in conformance with

 Plaintiff’s suggestion—that discovery should not take place until the Court enters a

 scheduling order and, more importantly, until the Court enters an order regarding the

 parties’ competing views of how the case should proceed on remand. The Court did

 note, however, that it would be appropriate for Plaintiff to file an Amended

 Complaint and for Defendants to file an Answer, and the Court set dates for those

 filings. Id. at 59-60.

       On March 1, 2019, Plaintiff filed a Second Amended Complaint (“SAC”).

 Dkt. No. 121. On March 25, 2019, Defendants filed an Answer, Dkt. No. 134, and


                                          3
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19        PageID.4859    Page 9 of 13



 a partial motion to dismiss the SAC, Dkt. No. 133, contending, among other things,

 that (1) all Individual Defendants are entitled to qualified immunity, and (2) most of

 the Individual Defendants should be dismissed from the case entirely. See Dkt. No.

 133. In addition, Plaintiff has filed motions for partial summary judgment, Dkt. No.

 138, and for an interim award of attorneys’ fees, Dkt. No. 135. The parties have

 filed oppositions to these cross-motions, and the Court originally scheduled a

 hearing on all of the motions for June 6, 2019. See Dkt. No. 139. On May 31, 2019,

 the Court cancelled the hearing and indicated that the motions would be decided on

 the papers.

       After the Court cancelled the June 6 hearing, Plaintiff served a notice to take

 the depositions of five of the Individual Defendants. See Deposition Notice, attached

 as Exhibit B. On June 12, 2019, Defendants’ counsel asked Plaintiff’s counsel to

 postpone the depositions until the Court had ruled on the pending motions.

 Plaintiff’s counsel responded that at the hearing on February 14, 2019, the Court

 stated that discovery should proceed. Defendants obtained a copy of the transcript

 of the hearing, and, on June 17, 2019, advised Plaintiff’s counsel that in fact

 Plaintiff’s own exchange with the Court indicated precisely the opposite: that no

 discovery would take place until the Court ruled on the pending motions. Plaintiff’s

 counsel declined to agree to postpone the depositions.




                                           4
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19        PageID.4860     Page 10 of 13




                                         ARGUMENT

        This Court should grant the motion for a protective order. As the Court

  expressly indicated at the hearing on February 14, discovery should not commence

  until the Court resolves the very nature and scope of future proceedings in this case.

  The Court’s reasoning remains true today, and the pending motion raising qualified

  immunity—which was filed after the February 14 conference—confirms that the

  noticed depositions cannot proceed at this time.

        Under Rule 26 of the Federal Rules of Civil Procedure, the Court may limit

  discovery where “the burden or expense of the proposed discovery outweighs its

  likely benefit.” Fed. R. Civ. P. 26(b)(2)(C)(iii). Because “the burden of ongoing

  discovery against a defendant who has asserted a qualified immunity is great and

  must be avoided,” a protective order is appropriate where a plaintiff seeks discovery

  from a defendant who has asserted a qualified immunity defense.              In such

  circumstances, “the Court unquestionably must first assess the validity of [the

  defendant’s] qualified immunity claim before permitting further discovery to

  continue.” Quigley v. Corr. Med. Servs., Inc., No. 09-14221, 2010 WL 1753121, at

  *2 (E.D. Mich. Apr. 29, 2010) (explaining that “Supreme Court and Sixth Circuit

  precedent clearly provide” for that result).

        In the pending partial motion to dismiss, the Individual Defendants assert

  qualified immunity as to Plaintiff’s due process claims. This defense must be


                                             5
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19          PageID.4861     Page 11 of 13



  resolved before discovery commences. See Quigley, 2010 WL 1753121, at *2; see

  also Gavitt v. Born, 835 F.3d 623, 641 (6th Cir. 2016) (“Unless the plaintiff’s

  allegations state a claim of violation of clearly established law, a defendant pleading

  qualified immunity is entitled to dismissal before the commencement of discovery.”

  (quotation marks omitted)); see also Harlow v. Fitzgerald, 457 U.S. 800, 817-18

  (1982) (“[B]are allegations . . . should not suffice to subject government officials

  either to the costs of trial or to the burdens of broad-reaching discovery.”). Nor it is

  appropriate for discovery on the Title IX claim to proceed while the parties await a

  ruling on qualified immunity as to the due process claim. Indeed, Plaintiff requested

  that approach in the February 14 briefing, but the Court has not granted

  it. Moreover, the Individual Defendants are entitled to know—before they are

  deposed—whether they are entitled to qualified immunity on a claim that is presently

  part of this case and that provides the basis for Plaintiff’s request for damages against

  them in their personal capacities.

        While the assertion of qualified immunity is reason enough to enter a

  protective order postponing the noticed depositions, other reasons also militate in

  favor of this relief. The pending motions raise important questions about how this

  litigation will proceed, including whether the appropriate next step—as Defendants

  have consistently maintained—is a new hearing before the University using

  constitutionally adequate procedures.       Indeed, the complainant has sought to


                                             6
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19        PageID.4862     Page 12 of 13



  continue to press her complaint against Plaintiff, and Plaintiff continues to seek a

  degree from the University. A resolution of the complaint pursuant to corrected

  procedures is critical in determining whether Plaintiff could be entitled to receive a

  University degree or return to campus. Defendants sought for that hearing to occur

  as quickly as possible. Until that hearing takes place—a hearing in which Plaintiff

  may or may not be found responsible for the allegations against him—depositions

  should not proceed.

        WHEREFORE, for these and other reasons that may appear to the Court,

  Defendants respectfully request that this motion be granted.



                                         Respectfully submitted,

  Date: June 20, 2019                    /s/ David W. DeBruin
                                         David W. DeBruin
                                         Jenner & Block LLP
                                         1099 New York Avenue, N.W., Suite 900
                                         Washington, DC 20001
                                         202-639-6015
                                         ddebruin@jenner.com

                                         Brian M. Schwartz (P69018)
                                         Miller, Canfield, Paddock and Stone, P.L.C.
                                         150 West Jefferson, Suite 2500
                                         Detroit, MI 48226
                                         313-963-6420
                                         schwartz@millercanfield.com

                                         Attorneys for Defendants



                                            7
Case 2:16-cv-13174-DML-SDD ECF No. 148 filed 06/20/19        PageID.4863    Page 13 of 13




                           CERTIFICATE OF SERVICE

        I hereby certify that on June 20, 2019, I electronically filed the foregoing

  DEFENDANTS’ MOTION FOR A PROTECTIVE ORDER REGARDING

  NOTICED DEPOSITIONS with the Clerk of the Court using the ECF System,

  which will send notification of such filing to the following attorneys:

        Deborah L. Gordon at dgordon@deborahgordonlaw.com
        Elizabeth A. Marzotto Taylor at emarzottotaylor@deborahgordonlaw.com
        Andrea M. Van Hoven at avanhoven@deborahgordonlaw.com
        Alana A. Karbal at akarbal@deborahgordonlaw.com


                                                   /s/ David W. DeBruin
                                                   David W. DeBruin
                                                   Jenner & Block LLP
                                                   1099 New York Avenue, N.W.
                                                   Suite 900
                                                   Washington, DC 20001-4412
                                                   202-639-6015
                                                   ddebruin@jenner.com




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